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                         Oral argument not yet scheduled

                                  No. 22-1562

                    UNITED STATES COURT OF APPEALS
                          FOR THE SIXTH CIRCUIT
                                Phillip Turner,
                                                 Plaintiff-Appellant
                                       v.
                    Michigan Department of Corrections, et al.,
                                                   Defendants-Appellees

                   Appeal from the United States District Court
             for the Western District of Michigan, Southern Division
                             Case No. 1:21-cv-790

               OPENING BRIEF FOR PLAINTIFF-APPELLANT
                          PHILLIP TURNER


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November 10, 2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                         and Financial Interest

Sixth Circuit:                                  Case Name: Turner v. Michigan
Case Number: 22-1562                            Department of Corrections, et al


Name of Counsel: Samuel Weiss, esq.

Pursuant to 6th Cir. R. 26.1
Makes the following disclosure: Phillip Turner

   1. Is said party a subsidiary or affiliate of a publicly owned corporation? If yes,
      list below the identity of the parent corporation or affiliate and the relationship
      between it and the named party: No.
   2. Is there a publicly owned corporation, not a party to the appeal, that has a
      financial interest in the outcome? If yes, list the identity of such corporation
      and the nature of the financial interest: No.




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             STATEMENT IN SUPPORT OF ORAL ARGUMENT

      Plaintiff-Appellant Phillip Turner requests oral argument. Argument would

aid the Court in evaluating his claim under the Americans with Disabilities Act.

                       STATEMENT OF JURISDICTION

      The district court had subject-matter jurisdiction under 28 U.S.C. § 1331. The

district court’s Decision and Order on June 9, 2022, dismissed the Plaintiff’s

complaint for failure to state a claim under section 1997e(c) of the Prisoner’s

Litigation Reform Act. R. 16, Opinion, PageID ##1–2. Plaintiff-Appellant Philip

Turner timely filed a notice of appeal on June 24, 2022. R. 19. See Fed. R. App. P.

4(c). This Court has jurisdiction under 28 U.S.C. § 1291.

                         STATEMENT OF THE ISSUES

      I. Title II of the American with Disabilities Act prohibits discrimination

against individuals with disabilities in the provision of public programs, services,

and activities.

      The first issue is whether the lower court erred in dismissing Mr. Turner’s suit

pursuant to 1997e(c) of the Prison Litigation Reform Act (PLRA), on the basis that

he had not alleged that he had a disability.

      II. Further, the ADA requires that prisons and jails provide safe and

appropriate housing accessible to people with disabilities.




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      The second issue is whether the Muskegon Correctional Facility (MCF)

violated Title II of the ADA when MCF staff refused to grant Mr. Turner a bottom

bunk detail, although he is a person with a disability qualified for services provided

by MCF, and he was forced to dangerously climb to a top bunk, exacerbating his

mobility impairments and pain.

      III. Finally, under the ADA, public entities, like prisons, must avoid utilizing

methods of administration that discriminate against individuals with disabilities.

Facially neutral regulations that lead to a disparate impact on individuals with

disabilities are prohibited under the ADA.

      The third issue is whether the failure to install ladders on bunk beds in cells

such as those utilized by Mr. Turner, and the requirement that prisoners climb to and

from the top bunk in order to access a place to sleep, has a disparate impact on

individuals with physical disabilities in violation of Title II of the ADA.

                          STATEMENT OF THE CASE

 I.   Introduction

      Mr. Turner, a fifty-seven-year-old man, arrived at the Muskegon Correctional

Facility (MCF) on November 19, 2019. R. 1, Complaint, PageID # 11. At the time

of his arrival, he was managing multiple serious medical conditions for which he

took various prescribed medications. R. 1, Complaint, PageID # 11. During the

quarantine process at the Charles E Egler Reception and Guidance Center (RGC),



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Dr. Boomershine examined Mr. Turner and informed him that he qualified for a

temporary bottom bunk detail (BBD) due to his “chronic care” status, which

reflected his medical history, current medications, and relative ability to ascend to

the top bunk. R. 1, Complaint, PageID # 11. Mr. Turner was given a copy of his

detail designation and proceeded to his assigned bunk (cell 121-B). R. 1, Complaint,

PageID # 11.

      On December 4, 2019, MCF staff informed Mr. Turner that his assignment

was changing to a top bunk in his current cell (cell 121-A) to accommodate another

prisoner with health-related issues who required a bottom bunk. R. 1, Complaint,

PageID # 11. Mr. Turner’s temporary BBD was still in effect at this time, but when

Mr. Turner sought assistance from Health Services to implement his existing BBD,

his requests were denied. R. 1, Complaint, PageID # 11. Dr. Asche, one of the

medical providers at MCF, gave Mr. Turner no reason as to why his detail had

changed, given that his health status had not changed since the medical staff had

issued the initial detail. R. 1, Complaint, PageID # 11. Dr. Asche also refused to

assign Mr. Turner a new BBD when his temporary assignment expired later in

December 2019. R. 1, Complaint, PageID # 11.

      With the switch to a top bunk assignment, Mr. Turner struggled to hoist

himself up into his new bed. R. 1, Complaint, PageID # 11. In MCF, prisoners who

have difficulty pulling their own body weight up onto a top bunk or lowering



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themselves down have limited tools at their disposal for assistance because top bunks

do not have ladders. R. 1, Complaint, PageID # 10. Instead, prisoners generally use

the furniture in their cell to aid their climb, first stepping onto a flimsy plastic chair,

then onto the top of a desk, and from there climbing to the top bunk. R. 1, Complaint,

PageID # 10. To dismount from the top bunk, the steps are reversed, though shorter

prisoners must jump from the bunk to the desk to begin their descent. These items

are not stable, nor are they anchored to the wall; they “move and wobble with the

potential to topple over.” R. 1, Complaint, PageID # 10. Mr. Turner brought up how

dangerous this situation was with both the Warden and Deputy Warden, but both

ignored him. R. 1, Complaint, PageID # 11.

       On July 10, 2020, Mr. Turner, whose repeated efforts to reinstate his BBD

remained unsuccessful, lost his balance when the desk he was standing on while

attempting to climb up to his bed tipped over. R. 1, Complaint, PageID # 11. Mr.

Turner fell, hitting the desk, then the chair, and finally landing on the floor of his

cell. R. 1, Complaint, PageID # 12. Mr. Turner landed on his lower back, causing a

severe injury. R. 1, Complaint, PageID # 12. Due to the severity of his injuries, Mr.

Turner was taken to the emergency room. R. 1, Complaint, PageID # 12. When Mr.

Turner returned to MCF after discharge from the hospital, he was provided crutches

to aid him with mobility. R. 1, Complaint, PageID # 12. He also required daily visits

to Health Services to check on his wounds and change his dressings. R. 1, Complaint,



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PageID # 12. The fall resulted in permanent injury. R. 1, Complaint, PageID # 9.

Despite these injuries and the impairment to his mobility on top of his already

existing conditions, Mr. Turner was still repeatedly denied a bottom bunk detail after

his fall on July 10. R. 1, Complaint, PageID # 12. Both Mr. Turner and a prison staff

member named Loomis made multiple requests to reinstate the bottom bunk

assignment, but these requests were denied by the correctional facility. R. 1,

Complaint, PageID # 12.

      Utilizing a top bunk under these conditions proved extremely challenging to

Mr. Turner. Climbing up to the top bunk became both more painful and riskier, as

the effects of his injury both increased his pain and suffering and decreased his

mobility as he continued to use the makeshift desk and chair system to reach his bed.

Despite these challenges, Mr. Turner was denied a bottom bunk detail until August

8, 2020, but then was returned once again to a top bunk assignment on August 29,

2020. R. 1, Complaint, PageID # 12. Mr. Turner maintained a top bunk detail for the

remainder of his time at MCF. He brought up the dangerousness of his falls several

more times with the Wardens and was always ignored. R. 1, Complaint, PageID #

12. The Wardens told him they did not provide ladders to save money. R. 1,

Complaint, PageID # 12–13.

II.   Procedural Background




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      Mr. Turner filed suit pro se against the Michigan Department of Corrections

(MDOC), the director of MDOC, the warden and deputy wardens at MCF, and the

medical services provider at MCF on September 10, 2021. See generally R. 1,

Complaint, PageID ## 1–21. He alleged that Defendants had violated Title II of the

Americans with Disabilities Act (ADA) and had demonstrated deliberate

indifference to his medical needs in violation of his Eighth Amendment rights. R. 1,

Complaint, PageID ## 8–10. Mr. Turner also brought claims against Defendants for

violating his First Amendment rights, as well as state law claims. R. 1, Complaint,

PageID ## 8–10.

      On June 9, 2022, the district court dismissed all federal claims against

Defendants, pursuant to 1997e(c) of the PLRA, for failure to state a claim under the

ADA. Further, it declined to exercise supplemental jurisdiction over Mr. Turner’s

state law claims. See generally R. 16, Opinion, PageID ## 1–15. On the Eighth

Amendment claim, the district court relied on the Sixth Circuit opinion in Millhouse

v. Jones to hold that Mr. Turner did not provide evidence that met the deliberate

indifference standard. R. 16, Opinion, PageID ## 8–9. On Mr. Turner’s ADA claims

against MDOC, the district court held that Mr. Turner did not have a qualifying

disability, nor did he provide evidence that he was denied the opportunity to

participate in or benefit from Defendants’ services, programs, or activities, or was




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otherwise discriminated against by Defendants, by reason of his disability. R. 16,

Opinion, PageID # 12. Mr. Turner timely appealed.




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                        SUMMARY OF THE ARGUMENT

I.             The district court should not have dismissed Mr. Turner’s claims at the

       pleading stage because he pled sufficient facts to make a plausible claim under

       the Americans with Disabilities Act (ADA).

II.            The district court erred in applying an incorrect legal standard for a

       qualified person with a disability under the ADA.

III.           Mr. Turner pled sufficient facts to state a claim that he was disabled and

       qualified to receive the services of MCF. His bottom bunk medical detail from

       his past facility and his difficulty walking and climbing while attempting to

       access his bunk demonstrate he is disabled under the ADA. Additionally, the

       ADA covers MCF as a public entity, and a safe place to sleep is a “service,

       program, or activity” within the scope of the ADA according to its plain text,

       precedent in other circuit courts, and Department of Justice (DOJ) regulations.

IV.            Refusing to honor Mr. Turner’s lower bunk medical detail was a denial

       of meaningful access without a reasonable accommodation. And Mr. Turner

       was denied an accommodation by reason of his disability because his mobility

       impairments and pain were exacerbated from being forced to climb to the top

       bunk.




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V.          The failure to install ladders and requiring prisoners to climb to and

     from the top bunk has a disparate impact on individuals with physical

     disabilities.

VI.         MDOC’s failure to provide accessible elements within Mr. Turner’s

     cell at MCF violates the ADA provision requiring prisons to ensure disabled

     individuals have access to “safe, appropriate housing” while incarcerated.




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                            STANDARD OF REVIEW

      This Court reviews a motion to dismiss for failure to state a claim under a de

novo standard of review. Ziegler v. IBP Hog Market, Inc., 249 F.3d 509, 511–12 (6th

Cir. 2001) (“In reviewing the motion, we must construe the complaint in the light

most favorable to the plaintiff [and] accept all of the complaint’s factual allegations

as true”). Pro se filings are “to be liberally construed.” Erickson v. Pardus, 551 U.S.

89, 94 (2007) (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)). This Court must

read Plaintiff’s pro se complaint “indulgently” and accept Plaintiff’s allegations as

true. Haines v. Kerner, 404 U.S. 519, 520 (1972); Denton v. Hernandez, 504 U.S.

25, 33 (1992) (holding that only when Plaintiff’s allegations are “clearly irrational

or wholly incredible” should such facts be deemed untrue).




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                          ARGUMENT
   I.     THE DISTRICT COURT ERRED IN CONCLUDING THAT MR.
          TURNER HAD NOT PLED FACTS SUFFICIENT TO STATE A
          CLAIM THAT HE HAD A DISABILITY.

        Congress enacted the ADA to “provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals with disabilities

and provide broad coverage.” 42 U.S.C. § 12101. Turner brought an ADA claim

alleging that MDOC discriminated against him by failing to make reasonable

modifications to their policies and practices and provide him with a bottom bunk

designation. See Roell v. Hamilton Cnty., 870 F.3d 471, 488 (6th Cir. 2017); see also

42 U.S.C. § 12132. In addition, Mr. Turner argued that MDOC’s policy of not

providing ladders or stable methods of accessing the top bunk adversely impacted

individuals with physical and mobility related disabilities, like himself. See 28

C.F.R. 35.130(b)(7)(i); see also Oak Ridge Care Ctr. v. Racine Cnty., 896 F. Supp.

867, 874 (E.D. Wis. 1995). Finally, Mr. Turner alleged that MDOC had failed to

provide “safe and appropriate” housing for people with disabilities. 28 C.F.R. §

35.152(3).

        The prima facie elements to bring a claim under the ADA are: “(1) he is

disabled; (2) he was ‘qualified’ to take part in the ‘services, programs, or activities’

of the public entity;” (3) he was ‘excluded from participation in’ or ‘denied the

benefits of’ such ‘services, programs, or activities;’ and (4) this exclusion or denial

occurred ‘by reason of’" his disability. Keller v. Chippewa Cnty., 860 Fed. App’x

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381, 385–86 (6th Cir. 2021) (quoting 42 U.S.C. § 12132); see also Ability Ctr. of

Greater Toledo v. City of Sandusky, 385 F.3d 901, 909–10 (6th Cir. 2004). To

succeed under a disparate impact claim, a plaintiff can show that even “facially

neutral policies may be in fact discriminatory if their effect is to keep persons with

disabilities from enjoying the benefits of services” and thus such policies are more

harshly applied to the “handicapped.” McGary v. City of Portland, 386 F.3d 1259,

1267 (9th Cir. 2004).

      Mr. Turner filed the ADA claim pro se while incarcerated in MCF. R. 1,

Complaint, PageID # 1. Thus, Mr. Turner is subject to the Prison Litigation Reform

Act (PLRA). See 42 U.S.C. § 1997e; see also Grinter v. Knight, 532 F.3d 567, 572

(6th Cir. 2008) (requiring “district courts to screen and dismiss complaints that are

frivolous or malicious, that fail to state a claim upon which relief may be granted, or

that seek monetary relief from a defendant who is immune from such relief”). Under

the PLRA, the standard for dismissal of a claim mirrors the standard under Federal

Rule of Civil Procedure 12(b)(6). Briggs v. Westcomb, 801 F. App’x 956, 958 (6th

Cir. 2020). The standard is even more liberally construed to favor the pro se

complaint. Erickson v. Pardus, 551 U.S. 89, 94 (2007).

      A. Mr. Turner Sufficiently Pled The Prima Facie Elements Necessary to
      Succeed In An ADA Claim.

             1.Under The Correct ADA Standard, Mr. Turner Is A “Qualified Person
             With A Disability.”



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      The district court mistakenly dismissed Mr. Turner’s claim on the basis that

he failed to allege that he had a disability. The ADA protects any “qualified

individual with a disability” from discrimination, including denials of reasonable

accommodations. 42 U.S.C. §12132. Under the correct legal standard, any individual

who has a “physical or mental impairment that substantially limits one or more major

life activities,” a “record of such impairment,” or is “regarded as having such

impairment” meets the definition of disability under the ADA. 42 U.S.C. §§

12102(1)(A)–(C). After the 2008 ADA amendments, this legal definition is “not

meant to be a demanding standard” but rather is intended to be “construed broadly

in favor of expansive coverage.” 28 C.F.R. § 35.108(i); 28 C.F.R. § 35.101(b). The

district court failed to apply this standard.

                     i.   Mr. Turner has an impairment that substantially limits his
                          ability to walk and climb.

      Mr. Turner alleged that he had an “actual” disability because his impairment

substantially limits his ability to walk and climb, two major life activities. 28 C.F.R.

§ 35.108(a)(2)(ii). An impairment is considered “substantially limiting” if it affects

a person’s ability to perform it compared to “most people in the general population,”

taking into account such factors as “the difficulty, effort or time required to perform

a major life activity” and “pain experienced when performing a major life activity.”

28 C.F.R. § 35.101(d)(1)(v); 28 C.F.R. § 35.108(3)(ii). This standard is intended to

be lower than the “substantially limits” standard applied before the 2008 ADA


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amendments and does not require that the impairment completely or even

significantly limit the individual’s major life activities. 28 C.F.R. § 35.108(d)(1)(v)-

(vi).

         Major life activities are “activities that are of central importance to daily life,”

and the ADA’s list of major life activities provided is non-exhaustive, suggesting

that some activities of such “central importance to daily life” might also be

considered major life activities. Hale v. King, 642 F.3d 492, 500 (5th Cir. 2011); 28

C.F.R. 35.108(c)(1). Mr. Turner’s impairment substantially limits his ability to walk,

a major life activity explicitly included in the ADA’s non-exhaustive list of “major

life activities.” 28 C.F.R. 35.108(c)(1). Mr. Turner’s ability to climb was also

substantially limited by his impairment. Climbing should also be considered one of

Mr. Turner’s major life activities because it was centrally important to his daily life

at MCF—he had no other way to reach and descend from his sleeping place except

by climbing up and down from his bunk. Hale, 642 F.3d at 500. Other circuits have

held that climbing may be considered a major life activity under the ADA. See, e.g.,

Munoz v. California Dep’t of Corr. and Rehab., 842 Fed. App’x 59, 61 (9th Cir.

2021).

         In Stansell v. Grafton Correctional Institution, this Court held that an

incarcerated individual sufficiently alleged that he was disabled when he stated that

he had pain and difficulty when bending over because of a past abdominal procedure,



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and that having to use shorter tables in the prison’s visitation room was thus made

difficult and caused him extreme pain. Stansell v. Grafton Correctional Inst., 19-

4263 2020 U.S. App. LEXIS 25982 *3 (6th Cir. Aug. 14, 2020). In a factually similar

Third Circuit case, the court held that a plaintiff sufficiently alleged he had a

disability under the post-2008 ADA standard by stating that his Achilles tendonitis,

as well as the cast and crutches he was required to use for six weeks substantially

limited his ability to stand, walk, and use the stairs. Matthews v. Penn. Dep’t of

Corr., 613 Fed. App’x 163, 168-69 (3rd Cir. 2015). Mr. Turner has provided similar

evidence that he met the low standard for disability under the ADA.

      The district court incorrectly concluded that Mr. Turner had not pled sufficient

facts to demonstrate that he had an actual disability. First, Mr. Turner alleged that

he arrived at MCF with a medical detail to a bottom bunk and that he took

medications for his “serious medical problems” which affected his ability to use a

top bunk. R. 1, Complaint, PageID # 11. In so doing, he provided evidence that he

was unable to perform the actions needed to reach a top bunk without difficulty or

pain. R. 1, Complaint, PageID # 11. Additionally, Mr. Turner alleged that as a result

of his substantial difficulty in climbing, he fell to the ground while he was

descending from his top bunk, both seriously injuring himself and aggravating his

inability to walk and climb. R. 1, Complaint, PageID # 11–12. After the aggravation

of his disability from his fall, Mr. Turner was sent to the emergency room due to his



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“extensive and severe” injuries. R. 1, Complaint, PageID # 12. His injuries were

serious enough that the prison provided him crutches and he had to have his

dressings for the wound changed daily. R. 1, Complaint, PageID # 12. It is obvious

that someone who at this point required the use of crutches to walk would have

substantial difficulty climbing on a “wobbly plastic chair and a desk that moves” to

reach a top bunk as well. R. 1, Complaint, PageID # 11. If the district court had

properly applied the low standard for disability under the ADA, like the courts in

Stansell and Matthews, the court would have held that these facts constituted a prima

facie claim of disability.

                    ii.      Mr. Turner adequately pled that he had a disability based
                             on a record of his impairment.

      Mr. Turner also had a record of impairment. MDOC’s records included

assignment of a medical detail to a bottom bunk from a doctor who medically

evaluated him in a prior facility. R. 1, Complaint, PageID # 11. An individual is

considered to have a record of their disability when the individual has “a history of,

or has been misclassified as having, a mental or physical impairment that

substantially limits one or more major life activities.” 28 C.F.R. § 35.108(e)(1). An

individual’s substantially limiting impairment need not have lasted longer than six

months or be ongoing in order to be considered disabled by having a record of a

substantially limiting impairment. 28 C.F.R. § 35.108(d)(vii); Hale v. Murfreesboro

Housing Authority, No. 3:19-CV-01024, 2021 U.S. Dist. LEXIS 184328 at *12

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(M.D. Tenn. 2021) (noting that a “record of disability” can be met if a plaintiff

demonstrates they had a disability in the past even if they were no longer disabled at

the moment the alleged discrimination occurred.). In this case, Mr. Turner has a

record of his impairment which substantially limits his abilities to walk and climb.

      Applying the broad definition of disability adopted by Congress and codified

in the 2008 amendments to the ADA, courts in this circuit have held that plaintiffs

stated a claim that they had a record of disability even if they had recovered from

their disability. In Hale v. Murfreesboro Housing Authority, the district court held

that a plaintiff who alleged having a stroke and not being able to “walk, care for

herself, or essentially do anything [f]or at least a month following her stroke” had

stated enough undisputed facts showing she may have had a “record of” her

impairment in order to proceed to trial. Hale v. Murfreesboro Housing Authority,

2021 U.S. Dist. LEXIS 184328 at *12; see also Knight v. Metro. Gov’t of Nashville

and Davidson Cnty., 136 Fed. App’x 755, 760-61 (6th Cir. 2005) (holding that a jury

determination that a former police officer had a record of his impairment was

reasonable when the plaintiff had been on disability status with the police department

for twenty years and showed a limited work history due to his impairment).

      Mr. Turner clearly had a record of his impairment and MCF and MDOC had

access to it. Mr. Turner alleged his medical detail to a bottom bunk was provided to

him upon entry to the facility. R. 1, Complaint, PageID # 11. Additionally, upon



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entry to MCF, his medical file indicated that he had “chronic care” status, which also

constitutes a record of his impairment. R. 1, Complaint, PageID # 11. Upon release

from the emergency room, Mr. Turner was given crutches in order to ambulate. R.

1, Complaint, PageID # 12. Mr. Turner would only have been able to use these

crutches in a maximum-security facility like MCF if prison staff had a record of his

impairment demonstrating their necessity. Applying the broad standard for

establishing a “record of” disability, the lower court should have held that Mr. Turner

stated, at minimum, a plausible claim that he was disabled because he had a record

of his impairment.

                     iii.   Mr. Turner was qualified to receive the services provided
                            by Muskegon Correctional Facility, a public entity covered
                            by the ADA.

      The district court held that Mr. Turner did not allege that he was denied any

service, program, or activity by the correctional facility. This conclusion is incorrect.

Mr. Turner clearly alleged that he was denied a safe place to sleep while at MCF, a

“service” provided by MDOC. Additionally, Mr. Turner was a “qualified” individual

with a disability because he met “the essential eligibility requirements” to receive

MCF’s services: he was incarcerated at the prison and the prison is a public entity.

42 U.S.C. § 12131(2).

      State prisons operated by MDOC are public entities under the ADA. Pa. Dep’t

of Corrs. v. Yeskey, 524 U.S. 206, 210 (1998); see also United States v. Georgia,



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546 U.S. 151, 157 (2006). Furthermore, a safe place to sleep is a prison service

covered by the ADA because “services” and “programs” of a prison include

“virtually anything [the] public entity does” that at least “theoretically benefit[s]

prisoners.” Yeskey, 524 U.S. at 210; Johnson v. City of Saline, 151 F.3D 564, 569

(6th Cir. 1998) (holding, also, “that the word “activities” “on its face, suggests great

breadth and offers little basis to exclude any actions of a public entity.”). Courts have

held that prisons provide a wide range of services. For instance, the Sixth Circuit has

held that access to a toilet constitutes a “service” provided by the correctional

facility. Stansell v Grafton Correctional Inst., 18-4009, 2019 U.S. App. LEXIS

24597, at *2 (6th Cir. 2019); see also Love v. Westville Corr. Ctr., 103 F.3d 558,

558–59 (7th Cir. 1996) (holding that visitation facilities are services under the ADA

as well as the law library and dining hall; Crawford v. Ind. Dep’t of Corr., 115 F.3d

481, 483 (7th Cir. 1997) (noting that educational programs in prison are programs

under the ADA). Similarly, courts have held that the provision of a safe place to

sleep falls within the scope of “service.” See, e.g., Pierce v. County of Orange, 526

F.3d 1190, 1224 n.44 (9th Cir. 2012) (affirming that the provision of “appropriate

and adequate bedding” was a service of the jail).

      Thus, the district court erred in holding that Mr. Turner had not been denied

access to any of the services provided by MDOC.

      B.   Mr. Turner Demonstrated That He Was Denied Reasonable
      Accommodations By MDOC.

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         1. Mr. Turner Pled Sufficient Facts Alleging That MCF Failed To Modify
            Its Policy And Provide “Meaningful Access” To Its Services,
            Programs, And Activities.

      Public entities, such as MCF, are subject to the ADA and “shall make

reasonable modifications in policies, practices, or procedures when the

modifications are necessary to avoid discrimination on the basis of disability, unless

the public entity can demonstrate that making the modifications would

fundamentally alter the nature of the service, program, or activity.” 28 C.F.R. §

35.130(b)(7)(i); see also Jaros v. Ill. Dep’t of Corr., 684 F.3d 667, 672 (7th Cir.

2012) (“Refusing to make reasonable accommodations is tantamount to denying

access”). A plaintiff is excluded from the services of a public entity when they are

denied “meaningful access” to the programs. Keller, 860 Fed. App’x at 386.

      Mr. Turner repeatedly requested the accommodation of either a lower bunk

designation or ladders. R. 1, Complaint, PageID ## 11–14. These repeated requests

were denied—the correctional facility refused to accommodate Mr. Turner by

providing a BBD. See id; Mr. Turner’s complaint gives extensive detail as to the

difficulties faced when ascending to the top bunk and shows specific harm after

falling from the top bunk. R. 1, Complaint, PageID ## 10–14. Importantly, unlike

the cases where plaintiffs lost on summary judgment, the lower court dismissed Mr.

Turner’s complaint prior to even serving the Defendants. See generally R. 16,

Opinion, PageID ## 1–15.



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      The lower court erroneously held that Mr. Turner’s ability to sometimes

access his bunk meant he could not satisfy this element of the ADA. See R. 16,

Opinion, PageID # 13 (incorrectly holding that the fact that “Plaintiff successfully

accessed his top bunk on many occasions” demonstrated meaningful access).

However, simple use of services does not satisfy that there was meaningful access.

Keller, 860 F. App’x at 387. If access to services is only possible through “excessive

and painful effort,” there is sufficient evidence to make a claim for failure to make

reasonable accommodations. Id. For instance, in Tennessee v. Lane, a plaintiff who

used a wheelchair brought an ADA claim because the court did not have a ramp to

enter the building. Tennessee v. Lane, 541 U.S. 509 (2004). The plaintiff was able

to eventually get into the courthouse, but only after he was forced to crawl up two

flights of stairs, refusing to be carried. Id. at 514. The U.S. Supreme Court

nonetheless held that his ADA claim was valid. See id. at 533–34.

      Similarly, in Stansell v. Grafton Correctional Institution, the plaintiff

successfully brought a claim that switching to shorter tables in the visitation room

violated the ADA. Stansell v. Grafton Correctional Institution, 19-4263, 2020 U.S.

App. LEXIS 25982, at *3 (6th Cir. Aug. 14, 2020). While the plaintiff could

technically still use the tables, the shorter tables caused him “severe pain and

discomfort” given his difficulties in bending over. Id. (holding that the defendant

“forced him to either forgo visitation or participate and experience unnecessary pain



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and suffering”). In both Lane and Stansell, courts determined that even though

plaintiffs still had the ability to access services, this was not meaningful access.

Lane, 541 U.S. at 512; Stansell, 2020 U.S. App. LEXIS 25982 at *3; see also Celeste

v. E. Meadow Union Free Sch. Dist., 373 Fed. App’x 85, 88 (2d Cir. 2010) (holding

that a mobility-impaired student did not have meaningful access to facilities when

“forced to take a ten-minute detour”).

       While Mr. Turner was able to access the top bunk, the record repeatedly shows

that it was dangerous and painful. Prisoners of MCF were forced to “ascend onto the

top bunk [] in an unsafe and dangerous manner” as there were no ladders. R. 1,

Complaint, PageID # 10. To reach his sleeping quarters, Mr. Turner had to climb

upon a wobbly plastic chair and an unsecured table that could easily topple over. R.

1, Complaint, PageID # 10. Both Mr. Turner and the plaintiffs in Lane and Stansell

were only able to access the services through extreme efforts and were therefore

denied meaningful access. R. 1, Complaint, PageID # 10. The lower court conflated

disparate treatment with reasonable accommodation by comparing Mr. Turner’s

access to be the same as other inmates. R. 16, Opinion, PageID # 13. Such

misinterpretation ignores that without an accommodation from MCF, Mr. Turner

could not meaningfully access his place to sleep under the equality mandate of the

ADA.




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      Mr. Turner’s fall when he attempted to climb to the top bunk was the most

powerful demonstration of the fact that he was denied meaningful access. R. 1,

Complaint, PageID ## 11–12. The fall caused Mr. Turner to split his buttocks,

causing him to bleed excessively, affecting his mobility, and requiring him to use

crutches and have his bandages changed daily. R. 1, Complaint, PageID # 12. Even

on crutches, Mr. Turner was expected to make the same dangerous ascent to and

descent from his bunk. R. 1, Complaint, PageID # 12. Therefore, like in Stansell,

Defendants forced Mr. Turner to choose to suffer through unnecessary pain or forgo

services. R. 1, Complaint, PageID ## 11–12. However, unlike Stansell, the service

was so critical that Turner could not realistically forgo access to his sleeping

quarters, making an accommodation even more vital. R. 1, Complaint, PageID ##

11–12.

      Mr. Turner alleged that Defendants themselves acknowledged the dangers

associated with climbing on chairs and desks, demonstrating the danger they were

putting him in. R. 1, Complaint, PageID # 14. MCF policy prohibits prisoners from

misusing state property in the dayroom and TV room. R. 1, Complaint, PageID # 14.

This policy specifically asserts that it is dangerous to stand on the chairs, yet the

prison forced Mr. Turner to engage in this dangerous activity to access his bed, even

after incurring serious injury. R. 1, Complaint, PageID ## 11–12, 14. If a ten-minute

detour in Celeste or pain when sitting down in Stansell prevent meaningful access,



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forcing Mr. Turner to climb on wobbly chairs and desks while on crutches should,

at the minimum, state a claim as to his access to MCF’s services. R. 1, Complaint,

PageID ## 10–12.

          2. Mr. Turner Adequately Pled That He Was Discriminated Against by
             Reason Of Disability.

      The court erred in concluding that Mr. Turner had not alleged facts sufficient

to demonstrate that he had been discriminated against by reason of disability. The

requirement to demonstrate that an individual was discriminated against “by reason

of disability” serves as a causation requirement, which can be satisfied by the

showing “that the proposed modification is needed to avoid the denial of services or

benefits.” Madej v. Maiden, 951 F.3d 364, 373 (6th Cir. 2020). It is sufficient for the

plaintiff to show that harm could have been avoided if the government had provided

some reasonable accommodation. See Douglas v. Muzzin, No. 21-2801, 2022 U.S.

App. LEXIS 21529, at *19 (6th Cir. Aug. 3, 2022) (citing Wilson v. Gregory, 3 F.4th

844, 859 (6th Cir. 2021)).

      In Douglas, the defendant forced the plaintiff-prisoner to wear standard prison

shoes instead of his orthopedics. Id. at *20. Due to the excessive “pain that came

from wearing the prison’s provided shoes instead of his orthopedic shoes,” he could

not utilize prison services. Id. He was forced to shorten any visits and avoid “chow

hall” because the pain was so intolerable. Id. Prior to the 45-day removal of his

orthopedics, the plaintiff had been able to engage in these services. Id. (holding that

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evidence of activities prior to denial of accommodation is persuasive to show

causation).

      Similar to Douglas, Mr. Turner would not have been subject to pain when

accessing the top bunk if he had not suffered from his disability. R. 1, Complaint,

PageID # 11. Mr. Turner was diagnosed with a chronic back condition and assigned

a bottom bunk detail prior to his arrival at MCF. R. 1, Complaint, PageID # 11. Other

medical personnel, both inside and outside of the prison system, found Mr. Turner

to have a chronic condition that prevented him from climbing to the top bunk. R. 1,

Complaint, PageID # 11. Further, a counselor from MCF requested that Mr. Turner

receive a bottom bunk detail given his condition. R. 1, Complaint, PageID # 12. It

was MCF’s failure to enforce Mr. Turner’s bottom bunk assignment that forced Mr.

Turner to climb to the top bunk on wobbly furniture. R. 1, Complaint, PageID # 11.

Further, Mr. Turner would not have fallen if he had not been directed to climb to

reach his bunk combined with his limitation in climbing. R. 1, Complaint, PageID #

11–12. Mr. Turner had previously maintained a permanent bottom bunk detail, like

the orthopedics given in Douglas, and did not face this pain and hardship when his

disability was reasonably accommodated. R. 1, Complaint, PageID # 11. Mr. Turner

adequately pled that he was able to engage in the services of the public entity—

namely accessing a safe place to sleep—when he was granted accommodations. The

This suffices to conclude that Mr. Turner had pled sufficient facts to prove causation.



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                    i.   Mr. Turner adequately pled that he was denied reasonable
                         accommodations

      The ADA recognizes that discrimination can take different forms. While it

prohibits disparate treatment on the basis of disability, analogously to racial or

gender discrimination, it separately requires that public entities provide reasonable

modifications to their policies in order to accommodate individuals with disabilities.

Roell v. Hamilton Cnty., 870 F.3d 471, 488 (6th Cir. 2017). These causes of action

are distinct. When considering a reasonable accommodation claim, the relevant

question is about the reasonableness of the accommodation. The enquiry is separate

from the question central to a disparate treatment claim, of whether other individuals

were treated in the same way as the plaintiff. US Airways, Inc. v. Barnett, 535 U.S.

391, 398 (2002) (noting that courts incorrectly focus on “uniformity of ‘effect’ rather

than ‘application’”).

      For instance, in Lane, the plaintiffs were given the same access into the

courthouse as anyone else—via stairs. Lane, 541 U.S. at 514. However, given

plaintiffs’ mobility restrictions, they were unable to enter the court without excessive

hardship. Id. The Supreme Court therefore held that the courthouse did not provide

a reasonable accommodation that could have prevented the plaintiffs’ hardships. Id;

see also Ability Ctr. of Greater Toledo, 385 F.3d at 909 (“defendants’ failure to

provide plaintiffs certain architectural accommodations – is actionable under Title

II even when not intentional”) (internal quotations omitted).


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      The    lower         court    incorrectly    conflated      Mr.      Turner’s     reasonable

accommodations and discriminatory treatment claims. It stated that Mr. Turner has

not “alleged any discrimination he faced.” R. 16, Opinion, PageID # 13. However,

the law is clear that it is not necessary to distinguish Mr. Turner’s access “relative to

the ability of any other prisoner.” R. 16, Opinion, PageID # 13. While many

incarcerated people at MCF were required to climb to the top bunk, Mr. Turner was

entitled to a reasonable accommodation as person with a disability. R. 1, Complaint,

PageID # 10. While top bunk assignments might have been a regular “application”

in MCF, given Mr. Turners disability, it had a different—painful— “effect.”

                     ii.     Upholding Mr. Turner’s bottom bunk does not constitute a
                             fundamental alteration of the prison’s programs, services,
                             or activities.

      Honoring Mr. Turner’s permanent bottom bunk assignment would not be an

unreasonable accommodation for the Defendants. First, reasonableness of an

accommodation is for the factfinder to determine. Lujan v. Pac. Mar. Ass’n, 165

F.3d 738, 743 (9th Cir. 1999). The court cannot make this determination as a matter

of law unless the “undisputed record reveals that the plaintiff was accorded a plainly

reasonable accommodation.” Wright v. N.Y. State Dep’t of Corr. & Cnty.

Supervision, 831 F.3d 64, 73 (2d Cir. 2016). Reasonable accommodations are those

that do not result in a “fundamental alteration in the nature of a service, program, or

activity.” 28 C.F.R. § 35.150(a)(3).



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      Accommodations in prisons are generally considered reasonable so long as

they do not result in additional costs or safety concerns. See Pierce v. Cnty. of

Orange, 526 F.3d 1190, 1220 (9th Cir. 2008); see also Love v. Westville Corr. Ctr.,

103 F.3d 558 (7th Cir. 1996). In Pierce, “vague assertion[s]” of expenses required

to make a bathroom accessible to “dexterity impaired detainees” were not

compelling enough to warrant failure to comply with the ADA. Pierce, 526 F.3d at

1220. The defendant in Love also failed to demonstrate that there was a security or

safety concern if the plaintiff was to be released from his prolonged stay in the prison

infirmary. Love, 103 F.3d at 561.

      There are no allegations demonstrating that Mr. Turner’s bottom bunk

assignment would be an unreasonable accommodation, especially given that the case

was dismissed prior to discovery or any analysis of the facts. See R. 16, Opinion

PageID # 1. As demonstrated by Mr. Turner’s prior bottom bunk detail, and the

detail of his own cellmate, such accommodation would in no way fundamentally

alter the nature of the prison. R. 1, Complaint, PageID # 11. There is also no

additional cost associated with granting Mr. Turner his bottom bunk detail. Finally,

as found in Love, a bottom bunk detail would not have provided Mr. Turner with

any kind of weapon or security risks to the prison.




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      Since honoring Mr. Turner’s bottom bunk assignment would not

fundamentally change MCF’s service, add additional costs, or pose a safety concern,

this accommodation was reasonable.

      C. MDOC’s Policy Of Requiring Incarcerated Individuals to Access Bunk
      Beds Without Ladders Discriminates Against Individuals With Disabilities
      Under the ADA.

      Public entities may not “utilize criteria or methods of administration” that

have “the effect of subjecting qualified individuals with disabilities to discrimination

on the basis of disability.” 28 C.F.R. § 35.130(b)(3)(i). MDOC’s blanket policy of

not providing ladders for top bunk access at MCF adversely impacts individuals with

disabilities in violation of this regulation. This method of administration has the

effect of subjecting individuals with disabilities to discrimination on the basis of

disability as the blanket policy effectively prevents people with physical disabilities

from accessing a safe place to sleep.

      Congress “intended the ADA to cover at least some so-called disparate impact

cases of discrimination” as barriers to full participation in the services under Title II

of the ADA are often facially neutral “but may work to effectuate discrimination

against disabled persons.” Crowder v. Kitagawa, 81 F.3d 1480, 1483 (9th Cir. 1996)

(holding that Hawaii discriminated against a class of visually impaired plaintiffs by

refusing to make modifications to a facially neutral policy requiring all animals

entering the state, including guide dogs, to be quarantined for 120 days.) The



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Crowder Court held that the State violated the ADA because the policy in question

“burden[ed] visually-impaired persons in a manner different and greater than it

burden[ed] others.” Id. at 1484

      This Court similarly held that there does not have to be intentional

discrimination for a finding that acts or omissions disparately impact persons with

disabilities. Diller v. City of Sandusky, 398 F.3d 562, 568 (6th Cir. 2005) (showing

that all disabled persons were affected by “the failure of Sandusky to install

handicapped-accessible sidewalks”). Further this Court emphasized in Dayton v.

Veterans Residences Ltd. Partnership that to determine whether there is a disparate

impact, the court must ask whether both disabled and non-disabled individuals had

“equal opportunity to ‘enjoy [the services of the public entity].’” No. 21-3090, 2021

U.S. App. LEXIS 34511, at *20–21 (6th Cir. Nov. 19, 2021) (quoting Smith & Lee

Associates, Inc. v. City of Taylor, 102 F.3d 781, 794 (6th Cir. 1996)). There it was

found that the housing voucher system, while applying equally to everyone,

“deprived its disabled tenants of the opportunity to live in the Dayton community

equal to that of nondisabled persons in the community.” Id.

      Mr. Turner repeatedly and sufficiently pled that all prisoners were forced to

dangerously ascend to and from their bunks without a ladder. R. 1, Complaint,

PageID # 10. His complaint described in detail how without ladders, prisoners were

“forced to step onto a wobbly plastic chair, then up onto an old un-secure desk that



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moves when you step on it, proceeding with climbing onto the top bunk.” R. 1,

Complaint, PageID # 10. Even though this dangerous climb is facially neutral by

applying to all prisoners, like in Crowder and Dillery, it causes specific

discrimination to individuals with a physical disability. R. 1, Complaint, PageID #

10.

      D. MDOC Failed To Provide Mr. Turner With “Safe, Appropriate Housing”
      in His Cell at MCF.

      MDOC violated the ADA regulations specifically requiring jails, detention,

and correctional facilities to provide a cell with accessible elements that would make

the cell safe and appropriate for Mr. Turner’s disability. ADA regulations require

that “public entities shall implement reasonable policies, including physical

modifications to additional cells in accordance with the 2010 Standards, so as to

ensure that each inmate with a disability is housed in a cell with the accessible

elements necessary to afford the inmate access to safe, appropriate housing.” 28

C.F.R. § 35.152(3). The 2010 ADA Accessibility Standards are the current minimum

requirements that prisons covered by Title II of the ADA must meet when they make

alterations to their facilities so that they are accessible to individuals with

disabilities. 28 C.F.R. § 35.151.

      In McBride v. Michigan Department of Corrections, deaf plaintiffs alleged

their cells were unsafe because they did not have “accessible elements” that would

alert them to the need to evacuate in the event of an emergency. 294 F.Supp.3d 695,


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718 (E.D. Mich. 2018). The plaintiffs alleged that they could not hear sound alarms

or announcements nor see visual alarms, and that pagers provided by the facility to

the plaintiffs in lieu of alarms accessible to plaintiffs were insufficient to remedy the

unsafe conditions of their cells. Id. The district court held that summary judgment

on these facts was not appropriate for either party, holding that plaintiffs’ facts not

only stated a claim but were substantial enough to require a trial. Id. at 719.

      Mr. Turner has provided similar facts to state a claim that he was housed in a

cell that did not have the accessible elements necessary to provide him with “safe

and appropriate housing” in violation of this section of the ADA. He specifically

alleged conditions making his cell unsafe and inappropriate for his disability,

including that he was forced to “step onto a wobbly plastic chair, then up onto an

old, unsecure desk that moves when you step on it” in order to ascend to his top

bunk, which ultimately led to his fall and serious injury. R. 1, Complaint, PageID #

10–11. He alleged two accessible elements that should have been in place: one, a

bottom bunk to accommodate his disability, and two, that all cells with bunk beds

should have ladders to make the climb up and down from the top bunk safe. R. 1,

Complaint, PageID # 10–1 1. Mr. Turner showed he continued to have to use a top

bunk even while he was on crutches recovering from an aggravation to his disability,

making the cell more dangerous for a physically disabled individual. R. 1,

Complaint, PageID # 12.



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                                   CONCLUSION

      This Court should reverse the district court’s dismissal for failure to state a

claim under the Prison Litigation Reform Act and remand to the district court for

service and further proceedings.

Date: November 10, 2022

                                             /s/ Samuel Weiss
                                             Samuel Weiss

                                             Rights Behind Bars
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                                             /s/ Samuel Weiss
                                                Samuel Weiss
                                             Attorney for Phillip Turner
                                             Dated: November 10, 2022




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      I certify that on November 10, 2022, I filed this brief with the Clerk of the

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November 10, 2022                                         /s/ Samuel Weiss
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   DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS

Under Sixth Circuit Rules 28(b) and 30(g), Appellant designates the following
filings in the record as entries that are relevant to this appeal:

 Description of Entry                                             Docket     PageID
                                                                  No.
 Complaint                                                        R. 1       1–21
 Opinion                                                          R. 16      64–78
 Judgment that the action is dismissed as frivolous,              R. 18      80
 malicious, or for failure to state a claim
 Notice of Appeal                                                 R. 19      81–82




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